      Case 16-12987-mdc        Doc 77-2 Filed 02/12/20 Entered 02/12/20 12:43:32                     Desc
                                Exhibit Notice of Default Page 1 of 1

                                        KML LAW GROUP, P.C.
                                  THE BNY INDEPENDENCE CENTER
                                   701 MARKET STREET SUITE– 5000
                                       PHILADELPHIA, PA 19106
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                                              January 21, 2020

Brad J. Sadek Esq.
Sadek and Cooper
1315 Walnut Street (VIA ECF)
Suite 502
Philadelphia, PA 19107

RE:      NOTICE OF DEFAULT UNDER COURT APPROVED STIPULATION
         Nationstar Mortgage LLC vs. Troy Cochran and Tyra Cochran
         Case No. 16-12987 MDC
         Last 4 Digits of Loan No. 0700

Dear Sir or Madam:

      Please be advised that your client is in default under the terms of the Stipulation that was approved by
the Bankruptcy Court. Under the terms of the Stipulation, your client must cure the default within fifteen (15)
days of this Notice. The amount in default is itemized as follows and set forth in the attached payment
history;
   Regular mortgage payments for the months of November 1, 2019 through January 1, 2020, in the
         amount of $831.68 per month;
   Less Debtor Suspense credit in the amount of $805.34;

              The total due is $1,689.70 and must be received on or before February 5, 2020.

      The monthly payment for February 2020, is/will be due on the 1st day of the month and is not included
       in the figure listed above.

NOTICE TO BORROWER: Please call your attorney with any questions. We are not permitted under the
Rules of Professional Responsibility to speak with you directly.

      As set forth in the Stipulation, only certified funds, money order, or a check from an attorney trust
account will be accepted to cure the default. We will not accept cash or personal checks. If you have proof
that payments were made, fax that proof to our office at 215-627-7734. If payment is not made, we will file a
Certification with the Court and request relief from the Bankruptcy stay. Due to heightened security in our
office complex, you MUST call our office at 215-627-1322 and schedule an appointment if you intend to pay
the amount in person, please reference our file number 160554BK.

                                                 KML Law Group, P.C.
                                                    /s/ Rebecca A. Solarz, Esquire
                                                      Rebecca A. Solarz, Esquire
                                                      KML Law Group, P.C.
                                                      BNY Mellon Independence Center
                                                      701 Market Street, Suite 5000
                                                      Philadelphia, PA 19106

cc:      Troy Cochran Tyra Cochran
